               Case 3:18-cv-04978-JD Document 415 Filed 05/19/22 Page 1 of 4


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19
                          UNITED STATES DISTRICT COURT FOR THE
20                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
21
     DZ Reserve and Cain Maxwell (d/b/a Max             Case No.: 3:18-cv-04978-JD
22
     Martialis), individually and on behalf of others
23   similarly situated,                                JOINT STATUS CONFERENCE
                                                        STATEMENT
24                           Plaintiffs,
             v.                                         Status Conference: May 26, 2022
25                                                      Time: 10:00 am
                                                        Court: Courtroom 11, 19th Floor
26 Meta Platforms, Inc. (f/k/a Facebook, Inc.),         Hon. James Donato
27   Defendant.

28
                                 JOINT STATUS CONFERENCE STATEMENT
                                         Case No. 3:18-cv-04978-JD
                Case 3:18-cv-04978-JD Document 415 Filed 05/19/22 Page 2 of 4



 1           Pursuant to the Court’s directive, the Parties submit this joint statement in anticipation of

 2   the status conference set for May 26, 2022. Class Cert. Order at 17:11–13 (ECF No. 388).

 3                                             Joint Statement

 4   I.      Case History

 5           This case was filed on August 15, 2018. ECF No. 1. Following motions to dismiss and for

 6   judgment on the pleadings, the claims remaining are fraudulent misrepresentation and fraudulent

 7   concealment claims seeking damages and a claim under the California Unfair Competition Law

 8   for injunctive relief only.

 9           On March 29, 2022, the Court certified this matter as a class action. Meta has filed a Rule

10   23(f) petition but has not sought a stay of this matter.

11   II.     Ongoing Matters

12           The parties participated in a full-day mediation with a private mediator on April 13, 2022.

13   That mediation was not successful. As the Court directed, ECF No. 388 at 17:14–15, the parties

14   have reached out to Magistrate Judge Thomas S. Hixson to schedule a settlement conference, and

15   have a scheduling call with Magistrate Judge Hixson scheduled for May 23, 2022. ECF 414. The

16   parties continue to engage in discussions about potential settlement of the case.

17           Plaintiffs filed a motion for the approval of the class notice plan on April 29, 2022. ECF

18   No. 411.

19           A hearing on the notice plan is set for June 9, 2022. A hearing on Facebook’s Motion for

20   Summary Judgment and the parties’ motions to exclude experts is set for June 23, 2022.

21   III.    Trial Date

22           In July 2021, the Court set the pretrial conference for September 22, 2022, and set the

23   trial date for October 3, 2022. ECF No. 331. The parties jointly propose that the pretrial

24   conference date and trial date remain on September 22, 2022 and October 3, 2022 respectively.

25                                           Plaintiffs’ Portion

26           As noted above, on June 23, 2022, the Court is set to hear the parties’ motions to exclude,

27   including Meta’s motions to exclude Dr. Greg Allenby and Bruce McFarlane, and portions of the

28
                                   JOINT STATUS CONFERENCE STATEMENT
                                           Case No. 3:18-cv-04978-JD
                Case 3:18-cv-04978-JD Document 415 Filed 05/19/22 Page 3 of 4



 1   opinion of Dr. Timothy Roughgarden. These two motions are nearly identical to Meta’s previously

 2   filed motions to exclude the same experts in connection with class certification. On March 29,

 3   2022, the Court denied Meta’s motion to exclude Dr. Greg Allenby. The Court excluded

 4   McFarlane and held that, “Any portion of Dr. Roughgarden’s opinions that is drawn on Mr.

 5   McFarlane’s work is also excluded, unless an independent basis for it is demonstrated. The Court

 6   declines to undertake that analysis on the record as it stands. Meta may pursue it in a motion in

 7   limine, as circumstances warrant.” ECF No. 388 at 14:15-18.

 8          Following the Court’s class certification decision and disposition of Meta’s Daubert

 9   motions, the parties met and conferred regarding a stipulation under which Meta would withdraw

10   its nearly identical motions. Meta then filed a reply brief raising new arguments that there is no

11   “independent basis” for Dr. Roughgarden’s opinion - the arguments that the Court directed Meta

12   to raise in a separate motion in limine. ECF No. 406 at 1:15-16; ECF No. 388 at 14:15-18.

13   Unfortunately, Plaintiffs do not believe the parties will be able to reach agreement on a stipulation

14   to withdraw Meta’s motions to exclude.

15                                          Defendant’s Portion

16          Meta tried in good faith to reach a stipulation with Plaintiffs that would allow it to

17   withdraw its pending motions to exclude Dr. Allenby and Mr. McFarlane (and Plaintiffs’ other

18   experts that rely on them, including Dr. Roughgarden) while preserving Meta’s rights to challenge

19   their testimony at trial and on appeal. The parties were unable to reach a stipulation that

20   adequately preserved Meta’s rights because they disagree about the impact of the Court’s class

21   certification decision on Dr. Allenby’s opinions, and the viability of one of Dr. Roughgarden’s

22   opinions following the Court’s decision excluding Mr. McFarlane. These two issues about the

23   impact of the Court’s decisions on Dr. Allenby’s and Dr. Roughgarden’s opinions were not (and

24   could not be) presented in or decided by the Daubert motions Meta filed at class certification (in

25   fact, Plaintiffs concede as much above), and thus Meta could not agree to withdraw its pending

26   motions without assurances about the preservation of its arguments that Plaintiffs would not

27   provide.

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                                  JOINT STATUS CONFERENCE STATEMENT
                                          Case No. 3:18-cv-04978-JD
             Case 3:18-cv-04978-JD Document 415 Filed 05/19/22 Page 4 of 4



 1   DATED: May 19, 2022                             Respectfully submitted,

 2

 3   By:   /s/ Geoffrey Graber                       By:    /s/ Andrew B. Clubok

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                                 JOINT STATUS CONFERENCE STATEMENT
                                         Case No. 3:18-cv-04978-JD
